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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA

MOREHOUSE ENTERPRISES LLC d/b/a           )
BRIDGE CITY ORDNANCE et al.,              )            Civil Action No. 3:22-cv-00116-PDW
                                          )
      Plaintiffs,                         )
                                          )
v.                                        )
                                          )
BUREAU OF ALCOHOL, TOBACCO,               )
FIREARMS AND EXPLOSIVES et al.,           )
                                          )
      Defendants.                         )
__________________________________________)

              DEFENDANTS’ MOTION FOR EXTENSION OF TIME

       Defendants respectfully move for a 16-day extension of time until August 24,

2022, to respond to Plaintiff’s motion for preliminary injunction. In support of this

motion, Defendants, through undersigned counsel, state the following:

       1.     Although the case docket reflects that Plaintiffs filed suit on July 4, 2022,

they failed to effect service of the complaint in this case—which is more than 150 pages

in length—or the summons on the U.S. Attorney’s Office until July 25, 2022.

       2.     Defendants will be significantly prejudiced absent an extension of time.

Counsel for Defendants have many substantial work commitments during the next two

weeks, including preparing for and traveling to a preliminary injunction hearing on

August 9 in a parallel action challenging this Rule, Division 80 v. Garland, No. 3:22-cv-

00148 (S.D. Tex.), and taking a deposition in the Division 80 action on August 2.

Without an extension of time, Defendants’ response will be due on the date that counsel

for Defendants are traveling to appear at this out-of-state hearing on the following day.



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Although Defendants have brought this scheduling conflict to Plaintiffs’ attention,

Plaintiffs have refused to agree to the requested extension.

        3.       By contrast, Plaintiffs’ timeline for bringing this action, and for filing the

motion for a preliminary injunction after initiating the action, both cut strongly against

any claim that Plaintiffs would be prejudiced by a reasonable extension of time for

Defendants to respond. The Rule being challenged by Plaintiffs in this action was issued

in April 2022, and announced that its effective date would be August 24, 2022. 87 Fed.

Reg. 24,652, 24,652 (Apr. 26, 2022). Moreover, the notice of proposed rulemaking

preceding the Rule was issued more than a year ago. See 86 Fed. Reg. 27,720 (May 21,

2021). But despite the fact that the organizational plaintiffs publicly announced in April

2022 that they would be filing this lawsuit, 1 Plaintiffs waited more than three months

after the announcement before moving for preliminary injunctive relief in this case. Any

purported emergency in this case is thus entirely of Plaintiffs’ own making.

        4.       Such lengthy delay before seeking such relief demonstrates that Plaintiffs

will suffer no prejudice—much less imminent irreparable harm—from a modest

extension of time. See Indep.-All. Party of Minnesota v. Simon, __ F. Supp. 3d __, 2022

WL 1537985, at *7 (D. Minn. May 16, 2022) (“It has long been recognized that delay in

seeking relief vitiates much of the force of allegations of irreparable harm.”) (citation



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  https://www.gunowners.org/no-compromise-gun-lobby-group-to-challenge-bidens-ghost-gun-rule-in-court/
(quoting Beth Brelie, “No-Compromise” Gun Lobby Group to Challenge Biden’s Ghost Gun Rule in Court, The
Epoch Times (Apr. 29, 2022)). See also GOA Fighting Biden’s Attempt to Expand the Gun Registry,
https://www.gunowners.org/new-rule-to-expand-atf-gun-registry/ (announcing on April 10, 2022, prior to the Rule’s
issuance, that “[a] lawsuit is in the works” and that “[w]e’ve known this was coming, since they announced this rule
as a proposed rule back in May of 2021”).


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omitted); Adventist Health Sys./SunBelt v. U.S. Dep’t of Health & Hum. Servs., 17 F.4th

793, 805 (8th Cir. 2021) (“Without question, a long delay by plaintiff after learning of the

threatened harm may be taken as an indication that the harm would not be serious enough

to justify a preliminary injunction.”) (citations and internal punctuation omitted).

       5.     By contrast, the plaintiff in the parallel Texas case filed suit less than two

weeks after the Rule was issued and moved for preliminary injunctive relief nearly two

months ago. See Division 80 v. Garland, No. 3:22-cv-00148, ECF Nos. 1 (Compl., May

9, 2022), 11 (Emergency Mot. for Prelim. Injunction, June 6, 2022).

       6.     Moreover, the parties in the parallel Texas case allowed Defendants 25

days for Defendants to respond to the preliminary injunction motion filed in that case.

See id., ECF No. 14 (Order). This extension of time was granted despite the fact that

(unlike here) the complaint and summons had been served on Defendants weeks

beforehand, and no parallel preliminary injunction proceedings were pending.

       7.     Defendants also require additional time because they are responding to an

overlength brief. Defendants have agreed not to oppose Plaintiffs’ motion for leave to

file a brief in excess of this Court’s page limits, provided that Plaintiffs would agree not

to oppose a similar page extension for Defendants’ response. Furthermore, because

Plaintiffs have filed suit against multiple federal agencies, additional time will be needed

to coordinate interagency review of substantive filings. Finally, additional time is

required because of the absence of key agency personnel from the office this week and

during the month of August.




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       Defendants therefore respectfully request that the Court grant their motion for a

16-day extension of time, through and including August 24, 2022, to respond to

Plaintiffs’ motion for preliminary injunction.

       Dated: July 25, 2022

                                          Respectfully submitted,

                                          JENNIFER KLEMETSRUD PUHL
                                          United States Attorney

                                   By:    ____________________________
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